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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

U.S. NAVY SEALs 1-3; on behalf of
themselves and all others similarly situated;
U.S. NAVY EXPLOSIVE ORDNANCE
DISPOSAL TECHNICIAN 1, on behalf of
himself and all others similarly situated; U.S.
NAVY SEALS 4-26; U.S. NAVY SPECIAL
WARFARE COMBATANT CRAFT
CREWMEN 1-5; and U.S. NAVY DIVERS
1-3,
                       Plaintiffs,
                                                  Case No. 4:21-cv-01236-O
       v.

LLOYD J. AUSTIN, III, in his official
capacity as United States Secretary of
Defense; UNITED STATES
DEPARTMENT OF DEFENSE; CARLOS
DEL TORO, in his official capacity as
United States Secretary of the Navy,

                      Defendants.


                      PLAINTIFFS’ SURREPLY IN OPPOSITION
                    TO DEFENDANTS’ ASSERTION OF MOOTNESS
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                                       INTRODUCTION

       Defendants’ newest policies and guidance do not moot this case. A close read of

NAVADMIN 038/23 makes clear that this policy will not “effectively provide Plaintiffs and the

class members the relief they seek,” Dkt. 226 at 3. Indeed, no policy, guidance, or directive issued

by Defendants to date completely resolves the issues remaining in this case. Regardless of what

new guidance Defendants create in an attempt to moot this case now that court-ordered mediation,

a Fifth Circuit opinion, and continued discovery, dispositive motions, and trial are looming, at

minimum, Defendants must meet their burden to show that it is “absolutely clear that the allegedly

wrongful behavior could not reasonably be expected to recur.” Friends of the Earth, Inc. v. Laidlaw

Envtl. Services (TOC), Inc., 528 U.S. 167, 189 (2000); Speech First, Inc. v. Fenves, 979 F.3d 319,

329 (5th Cir. 2020). Nothing about Defendants’ latest policies makes this “absolutely clear.” And

Defendants continue to defend the challenged policies and leave room to reinstate them. A

reasonable expectation thus remains that Defendants will continue to discriminate against the class

and may reimpose a COVID-19 vaccination requirement with an illegal religious accommodation

process in the future. At the very least, Defendants’ suggestion of mootness is premature, as new

policies admit implementation is ongoing. See Dkt. 233-1. The evidence shows that there are still

problems related to the mandate for class members. See Pls. Supp. App. 0008-0024. And even if

Defendants have a policy that complies with the law, that does not mean that they will follow it—

their policies on religious accommodation versus what they actually did in considering requests

are a prime example. Plaintiffs thus continue to have a concrete interest in the outcome of this

litigation and the case is not moot.




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                                         ARGUMENT

I.     NAVADMIN 038/23 and Defendants’ February 24, 2023 Policies Do Not Moot This
       Case.

        A.     A live controversy exists because the unvaccinated status of Navy personnel
               will still be taken into account according to Defendants’ policies.

       Defendants maintain that “[e]nforcement of the defunct COVID-19 mandate has ceased,

so NAVADMIN 225/21 and NAVADMIN 256/21 have no ongoing effect,” and that, “[w]hile

Plaintiffs claim the word ‘suspend’ in NAVADMIN 190/21 means the Navy has plans to bring

back these enforcement mechanisms . . . the issuance of the new standard operating guidance

[(NAVADMIN 038/23)] dispels that notion.” Dkt. 226 at 2. The Deputy Secretary of Defense’s

February 24, 2023, memorandum further provides that “DoD Component heads shall formally

rescind any such policies, directives, and guidance as soon as possible, if they have not done so

already.” Dkt. 230-1. The Navy has until March 17 to do so. Id. Plaintiffs are unaware that the

Navy has done so yet, however. And while the February 24 guidance calls for the formal rescission

of the Services’ policies, directives, and guidance implementing their respective COVID-19

vaccination mandates later this month, it also makes clear that the Secretary of Defense’s de facto

mandate remains in effect. Dkt. 230-1 (“This memorandum provides additional guidance to ensure

uniform implementation of Secretary of Defense Memorandum, ‘Rescission of the August 24,

2021 and November 30, 2021 Coronavirus Disease 2019 Vaccination Requirements for Members

of the Armed Forces,’ January 10, 2023 (January 10, 2023 memorandum).”).

       While paragraph 3 of NAVADMIN 038/23 states that “COVID-19 vaccination status shall

not be a consideration in assessing individual service member suitability for deployment or other

operational missions,” Defs. Supp. App. 002-003, the previous sentence is contradictory, and

Defendants fail to explain the Navy’s 6-page COVID-19 Operational Risk Management Matrix

for Deployments, which is linked in the NAVADMIN (and which Defendants did not bring to this
                                                2
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Court’s attention). Pls. Supp. App. 0001-0006. NAVADMIN 038/23’s COVID-19 risk

management matrix is to be “used in consultation with unit Medical Providers,” to “inform

Commanders of the COVID-19 risk to mission.” Pls. Supp. App. 0002. Notably, out of thirteen

risk factors listed on the matrix, five are attributed to the unvaccinated status of personnel: “Age

of Any Unvaccinated Personnel,” “Number of Unvaccinated Personnel,” “Percent of Crew

Unvaccinated,” “Mission Essential Personnel Unvaccinated,” and “Masking for Unvaccinated

Personnel.” Id. These and the other seven factors are assessed points based on whether the risk is

“low,” “medium,” or “high.” Id. Below the matrix is the following statement: “Leaders may

emphasize specific risk factor(s) that increase risk to mission based on the deployed environment

and crew characteristic.” Id.

       As the matrix demonstrates, a Navy servicemember’s unvaccinated status is to be

considered by commanders for operational decision-making purposes despite the language on the

face of the policy. Pls. Supp. App. 0002. Using vaccination status as nearly half of the criterion for

considering health risks to a mission is consistent with the Secretary of Defense’s de facto mandate,

as described in his original rescission memorandum, Pls. App. 0003, and as reinforced in the

Deputy Secretary of Defense’s February 24 guidance. Dkt. 230-1. In Defendants’ own words, “[i]f

there is any doubt, the Secretary’s directive controls. See 10 U.S.C. § 113; 10 U.S.C. § 8013(b).”

Dkt. 226 at 2. And the Secretary’s January 10, 2023 directive unequivocally states that

commanders can continue to consider vaccination status “in making deployment, assignment, and

other operational decisions.” Pls. App. 0003; see also Dkt. 230-1. Further, commanders are

explicitly told to “encourage [up to date] COVID-19 vaccination of personnel at least 30-days prior

to deployment-related movements or operations.” Defs’ App. 009.




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         Considering Defendants’ plan to erase the class members’ religious accommodation

requests from their files as if they never existed, Dkt. 224 at 9; Dkt. 230-2; Dkt. 233-1, the class

will continue to suffer harm without any opportunity to receive accommodations for their religious

objections if they are subject to consideration of their vaccination status in line with the Secretary’s

statement. Pls. App. 0078-0158. At minimum, the class members will have to reassert the same

religious objections if they are permitted to resubmit a request for religious accommodation. And

because of the removal of these requests, others assessing unvaccinated class members for

assignments will not know whether that sailor was an all-out “refuser,” or whether they had

complied with the rules and asserted a sincere religious objection to vaccination, something that

will influence decisions regardless of official guidance.

         The class continues to suffer harm because the coercion to get vaccinated remains, as the

declarations 1 Plaintiffs submitted in response to Defendants’ assertion of mootness show, Pls. App.

0078-0158, see also Pls. Supp. App. 0008-0024, and by Defendants’ own policies as explained

above. Class members are still being denied returns to operational commands and are being denied

dive physicals necessary to return to operational commands, yet in some cases, the Navy appears

to be engaging in retaliation by rushing some class members to operational commands outside of

normal Navy protocol despite harm to the class member and their family. Pls. Supp. App. 0012-

0024. The Secretary of the Navy’s February 24 guidance states that the records of all Navy




1
  Defendants complain that the “declarations should not be considered because these Plaintiffs have failed to comply
with the discovery rules.” Dkt. 226 at 4. But Defendants have yet to “demonstrate a ‘particularized need to obtain
information not available from class representatives,” In re Carbon Dioxide Indus. Antitrust Litig., 155 F.R.D. 209,
212 (M.D. Fla. 1993); accord Egana v. Blair’s Bail Bonds, Inc., No. CV 17-5899, 2018 WL 10593649 (E.D. La. May
29, 2018). And there are no court orders requiring the non-class representatives to participate. Defendants also
complain that Plaintiffs submitted declarations from class members not listed on disclosures, but neither is Captain
Healy, to Plaintiffs’ knowledge. Nor it is evident why Plaintiffs would need to disclose witnesses they are mustering
on short notice in response to newly changing policies and Defendants’ assertion of mootness, not “its claims or
defenses” at trial. See Fed. R. Civ. P. 26(a)(1)(A)(i). Thus, the declarations are appropriate for consideration.

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servicemembers “who sought or were subsequently denied an exemption from the COVID-19

vaccination” will “be reviewed and any adverse information related to their COVID-19 vaccine

refusal shall be removed from the service record.” Dkt. 230-2. Yet the scope of what Defendants

deem is “adverse” in personnel files is undefined, and evidence shows that adverse information

still exists in personnel files in any event. Pls. Supp. App. 0008-0011. 2 According to the latest

guidance, this “review” is still ongoing. Dkt. 233-1.

          B.     The case is not moot because Defendants have only voluntarily ceased some
                 challenged conduct.

        Defendants claim that because the NDAA compelled the termination of the COVID-19

vaccine mandate, their cessation of the mandate was not voluntary. Dkt. 226 at 7. But the other

actions Defendants claim moot the case—the subsequent policies and guidances—go beyond what

was required in the NDAA, which only requires repeal of the original mandate. It does not prevent

Defendants from instituting a new mandate or continuing with their discriminatory treatment of

sailors who declined vaccination for religious reasons. The timing and focus of these new policies

also demonstrate that they are only being issued to attempt to moot this litigation. For example,

NAVADMIN 038/23 was issued in the middle of the parties’ mootness briefing schedule—after

the Plaintiffs’ response brief was filed and right before Defendants’ reply brief was due to be filed.

And Defendants’ newest guidance—NAVADMIN 065/23—was issued the day before this

surreply was due. Dkt. 233. 3 Given that timeline, it is apparent that Defendants’ intent is to



2
  On February 28, 2023, Defense Department officials testified before the House Armed Services Committee and
stated that “[t]he services are going through a process to review those cases [where individuals ‘disobeyed a lawful
order’ to get a COVID-19 vaccine] to make a determination what needs to be done.” Meghann Myers, Troops who
refused COVID vaccines still could face punishment, Military Times (Feb. 28, 2023),
https://www.militarytimes.com/news/coronavirus/2023/02/28/troops-who-refused-covid-vaccines-still-could-face-
punishment/?utm_source=sailthru&utm_medium=email&utm_campaign=mil-ebb&SToverlay=de88742f-46f7-
4f2c-819d-3b36a47d6a7e.
3
  Notably, it took months for Defendants to comply with this Court’s injunction, yet now new policies are being
churned out. See Dkt. 112, 117.

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challenge Plaintiffs’ claims that class members remain non-operational and continue to suffer

adverse effects from the mandate, not to usher in meaningful change. As for the Deputy Secretary

of Defense’s February 24 policy, it seems that the purpose is to respond to Plaintiffs’ argument

that NAVADMINs 225/21 and 256/21 have not been cancelled and remain suspended.

        For these reasons, there is no question that Defendants’ latest round of policies constitute

voluntary cessation for the purpose of “litigation posturing.” Yarls v. Bunton, 905 F.3d 905, 910

(5th Cir. 2018). The fact that each policy attempts to speak to the various harms Plaintiffs bring to

the Court’s attention is obvious. Perhaps tomorrow will bring another set of guidance targeting the

issues raised in this brief. But considering Defendants’ vehement opposition to Congress’s

directive to rescind the 2021 mandate, 4 the matrix in NAVADMIN 038/23 that allows commanders

to consider servicemembers’ vaccination status in the context of overall risk to missions, the

Secretary of Defense’s de facto mandate, and the February 24 policies that provide no guarantee

that Defendants’ discriminatory behavior will end, a live controversy remains. At minimum, the

contradictory statements in the policies fail to satisfy Defendants’ “formidable burden of showing

that it is absolutely clear the allegedly wrongful behavior could not reasonably be expected to

recur.” Friends of the Earth, 528 at 190 (emphasis added).

        Even under the more relaxed standard the court sometimes applies when the defendant is

a government actor, Defendants still fail to satisfy their burden. Speech First, 979 F.3d at 327.

First, Defendants have not issued “a controlling statement of future intention [not to repeat their

discriminatory behavior].” Id. Second, Defendants continue to defend and applaud the challenged

policy, not only in the very document that calls for rescission of the COVID-19 vaccine mandate,



4
 See e.g., Heather Mongilio, Pentagon Unclear How Military Would Manage End of Mandatory COVID-19 Vaccines,
USNI NEWS (Dec. 7, 2022), https://news.usni.org/2022/12/07/pentagon-unclear-how-military-would-handle-end-of-
mandatory-covid-19-vaccines.

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Pls. App. 0002, but also in the Deputy Secretary of Defense’s most recent February 24, 2023

guidance. Dkt. 230-1 (“Department leadership . . . will continue to promote and encourage

vaccinations for all Service members along with continued use of other effective mitigation

measures.”); Defs. Supp. App. 006 (stating that “The virus is still with us and it is still dangerous,

and the combination of vaccines, boosters, command engagement and personal accountability

continue to be our best defense.”); Defs. Supp. App. 013-035 (Decl. of Gareth Healy) (defending

the fifty-step SOP for the Navy’s religious accommodation request process). Third, as explained

above, the Navy’s timing of its new policies is suspicious. Id.

         Moreover, Defendants maintain the “authority to reinstate [the challenged policies] at any

time,” which subjects class members to a credible threat of widespread enforcement of

Defendants’ discriminatory vaccination requirements in the future. Tandon v. Newsom, 141 S. Ct.

1294, 1297 (2021). Counsel for Defendants admitted to the Fifth Circuit that there is no guarantee

that another COVID-19 vaccine mandate would not be implemented in the future. 10 And as Judge

Duncan posited during Defendants’ counsel’s oral argument, if another vaccination mandate

issued, the “military is going to follow the same [sham religious accommodation] policy going

forward. Nothing in the record would indicate otherwise.” 11 Since the COVID-19 vaccine mandate

was implemented, Defendants have made clear that they have no intention of ever complying with

their exacting RFRA and First Amendment obligations. Without a controlling statement or policy

confirming that Defendants will remedy their discriminatory accommodation process and not

repeat their unlawful actions or the challenged vaccination policy, this case is not moot.




10
   During oral argument, Defendants’ counsel advised the Fifth Circuit panel that “[u]nder the prevailing public health
guidelines and understanding of the virus, there is no current intention to institute a universal vaccine requirement.”
Oral Argument at 8:12-19, U.S. Navy SEAL 1-26 v. Biden, No. 22-10077 (5th Cir. Feb. 6, 2023), available at
https://www.ca5.uscourts.gov/OralArgRecordings/22/22-10077_2-6-2023.mp3. (emphasis added).
11
   Id. at 9:44-9:49.

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        C.     Plaintiffs’ claims are capable of repetition yet evade review.

       Even if Defendants’ challenged conduct had completely stopped, this case is the

“exceptional situation” where Plaintiffs may proceed beyond any possibility of mootness.

Kingdomware Tech., Inc. v. United States, 136 S.Ct. 1969, 1976 (2016). Defendants argue that

Plaintiffs failed to satisfy their burden of showing that the first element of the capable-of-

repetition-yet-evading-review exception to mootness applies in this case because “vaccination

requirements are not inherently too short to be fully litigated.” Dkt. 226 at 9. But as Defendants’

own authorities acknowledge, “[c]laims need to be judged on how quickly relief can be achieved

in relation to the specific claim.” Empower Texans, Inc. v. Geren, 977 F.3d 367, 370 (5th Cir.

2020). Here, the issue is a vaccine for a virus that continues to mutate along with Defendants’

policies. Defendants argue that Plaintiffs cannot show that the vaccine mandate “would have

changed but for Congress’ intervening legislation,” Dkt. 226 at 9, but Defendants’ own new

policies recognize the changing nature of the virus. See Defs. Supp. App. 002 (referencing risk

matrix and “steady state” posture); Pls. Supp. App. 0001-0007 (risk matrix considers “severity of

currently circulating variant”); Defs. Supp. App. 006 (stating that “The virus is still with us and it

is still dangerous, and the combination of vaccines, boosters, command engagement and personal

accountability continue to be our best defense.”); Defs. Supp. App. 007 (discussing

implementation of “evolving CDC guidance related to virus behavior and mitigations”). And even

their policies implementing the mandate were changed and updated over time. Because the

mandate was unexpectedly rescinded before Defendants’ unlawful actions could be fully litigated

by this Court, but the Defendants’ unlawful actions may still recur, application of this exception

to mootness would be appropriate even if the Court finds that all challenged conduct has ceased.




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II.    Plaintiffs May Pursue Monetary Relief from Defendants.

       Plaintiffs’ potential monetary claims are not barred by the doctrine of sovereign immunity.

RFRA provides that a “person whose religious exercise has been burdened in violation of this

section may . . . obtain appropriate relief against a government.” 42 U.S.C. § 2000bb-1(c)

(emphasis added). RFRA also provides that a plaintiff may obtain “appropriate relief against a

government.” What constitutes “appropriate relief” does not change depending on whether the

defendant is an individual capacity defendant or an official capacity or agency defendant. As the

Supreme Court recently said in holding that RFRA’s “appropriate relief” includes money damages

against officials in their individual capacities, “[a] damages remedy is not just ‘appropriate’ relief

as viewed through the lens of suits against Government employees. It is also the only form of relief

that can remedy some RFRA violations. . . . Given the textual cues just noted, it would be odd to

construe RFRA in a manner that prevents courts from awarding such relief.” Tanzin v. Tanvir, 141

S. Ct. 486, 492 (2020) (emphasis in original). Sossamon v. Texas—relied on by Defendants—is

easily distinguishable. 563 U.S. 277 (2011). Sossamon dealt with a different statute (RLUIPA),

whereas Tanzin directly addressed the statute at issue in this case (RFRA). As both Sossamon and

Tanzin recognized, though the same language may be used in both statutes, the meaning of that

language is “‘inherently context dependent’” and might even differ as between the use of the same

phrase in different sections of even the same statute. Tanzin, 141 S. Ct. at 491 (quoting Sossamon,

563 U.S. at 286); see also Sossamon, 563 U.S. at 292 (contrasting language in RLUIPA §§ 2 and

3 and noting one possible “unequivocal textual waiver” of sovereign immunity for money damages

might apply to §2 but not to § 3 despite both relying on the same “appropriate relief” provision).

       The context of RLUIPA makes its use of “appropriate relief” far different than the language

in RFRA. RLUIPA is narrower in scope, applying only to institutionalized persons and religious


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land use. RLUIPA and RFRA were also enacted pursuant to different constitutional provisions.

RFRA, which waives sovereign immunity only as to the federal government, was enacted pursuant

to § 5 of the Fourteenth Amendment, Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 695

(2014), while RLUIPA, which waives sovereign immunity as to the states, was enacted pursuant

to the Spending Clause, Sossamon, 563 U.S. at 289. Sossamon noted that RLUIPA’s Spending

Clause authority, if anything, potentially limits RLUIPA’s scope for damages. Id. at 290 (“[I]n

Barnes and Franklin, the Court discussed the Spending Clause context only as a potential

limitation on liability” (emphasis in original) (citing Barnes v. Gorman, 536 U.S. 181, 187–88

(2002) and Franklin v. Gwinnett Cty. Pub. Schs., 503 U.S. 60, 74–75 (1992))). The two statutes

also waive immunity for different entities. While RLUIPA is a federal statute that waives immunity

for other sovereigns (the states)—a situation where it may make sense to limit the scope of the

waiver, RFRA is the federal government waiving its own immunity, and doing so clearly to allow

for individuals harmed by federal action to obtain any appropriate relief. Finally, the context

surrounding enactment matters. Congress passed RFRA the year after Franklin, which presumed

the phrase “appropriate relief” included money damages. Congress did not limit “appropriate

relief” to “appropriate equitable relief” as it had done in other statutes, and Congress provided this

“appropriate relief” in a context where often the only relief available is often money damages.

Interpreting RFRA’s damages provision to be ambiguous on this point would, indeed, be “odd.”

Cf. Tanzin, 141 S. Ct. at 492. Thus, Plaintiffs may pursue monetary relief against Defendants. 5




5
 After the Court’s ruling on mootness, Plaintiffs could seek leave to amend their complaint to add this claim, though
“[w]here, as here, the plaintiff’s complaint seeks all such further relief as the Court deems necessary and proper, it is
unnecessary for the plaintiff to specifically plead nominal damages.” Neutron Depot, LLC v. Bankrate, Inc., No.
AU-16-CA-01170-SS, 2018 WL 6588573, at *1 (W.D. Tex. Aug. 16, 2018).

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                                           CONCLUSION

        For the foregoing reasons, this Court should deny Defendants’ Motion.

Respectfully submitted this 8th day of March, 2023.

                                                  /s/ Heather Gebelin Hacker
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Rule 49(c)(8) under the supervision of an
attorney admitted to the D.C. Bar.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2023, I electronically filed the foregoing document

through the Court’s ECF system and will serve a copy on each of the Defendants according to the

Federal Rules of Civil Procedure.



                                                   /s/ Heather Gebelin Hacker
                                                   HEATHER GEBELIN HACKER




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